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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA



In Re:
Glen W. Simonds,                                             Bkry Case No: 18-41224
and                                                                  Chapter 13
Jennifer A. Simonds,
                Debtors,



        AMENDED NOTICE OF MOTION AND MOTION TO VALUE CLAIM OF
        WILMINGTON SAVINGS FUND SOCIETY FSB DBA CHRISTIANA TRUST
                    IN DEBTORS’ PRINCIPAL RESIDENCE


TO: Mark A. Turner, CEO for Wilmington Savings Fund Society, James Dimon, CEO of
JPMorgan Chase, Vicci Lee, Hennepin County Treasurer, Matt Hollingsworth, CEO Select
Portfolio Servicing, and other entities specified under Federal Rules of Bankruptcy Procedure
3012.


      1. The debtors’ undersigned counsel, on behalf of the debtors, comes now for this Amended
         Motion to Value Claim of Wilmington Savings Fund Society FSB dba Christiana Trust
         (hereinto referred to as ‘Wilmington Savings”).


      2. The Court will hold a hearing on this motion on Thursday, October 18, 2018 at 10:30
         a.m., or as soon thereafter as counsel can be heard, before the Honorable Kathleen H.
         Sandberg, in U.S. Bankruptcy Court, Courtroom 8 West, Eighth Floor, U.S. Courthouse,
         300 South Fourth Street, St. Minneapolis, Minnesota.


      3. Any response to this motion must be filed and served no later than Friday, October 12,
         2018, which is five days before the time set for hearing (including Saturdays, Sundays and
         holidays).   UNLESS A RESPONSE OPPPOSING THE MOTION IS TIMELY
         FILED, THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.
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 4. This court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334,
    Bankruptcy Rule 5005 and Local Rule 1070-1. This proceeding is a core proceeding. The
    petition commencing the case was filed on April 18, 2018.


 5. This motion arises under 11 U.S.C. § 506(a), Fed. R. Bankr. P. 3012 and 9014, and Local
    Rule 9013-1 through 9013-3 and 3012-1.


 6. The purpose of this motion is to determine the secured status of the claim of Wilmington
    Savings for the purpose of confirmation of the debtors’ plan. Specifically, the debtors are
    seeking to obtain the entry of an order from this court determining the value of Wilmington
    Savings’ claim secured by its second-priority mortgage against the debtors’ homestead
    residential real property pursuant to 11 U.S.C. § 506(a), Fed. R. Bankr. P. 3012, and local
    rule 3012-1 is wholly unsecured.


 7. The debtors are the owners of certain homestead real property (hereinafter referred to as
    “the subject real property”) located at 8117 Aster Drive, Brooklyn Park, MN 55428 and
    legally described as:


    Lot 4, Block 11, Garden Acres Second Addition, Hennepin County, Minnesota


 8. An Owner and Encumbrances Report was prepared by All American Title Co. Inc. on June
    15, 2018. A copy of this report is attached to this motion as Exhibit A.


 9. The subject real property is now and was at the time of the filing of the petition the debtors’
    principal residence.


 10. The debtors obtained an appraisal on the subject real property on October 18, 2017 by
    James Anthony, a certified residential appraiser with James Anthony Appraisal Company.
    The appraisal established the fair market value of the subject real property as $148,000.00.
    A true and correct copy of the appraisal is attached to this motion as Exhibit B.
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 11. Debtor has subsequently had two additional appraisals performed on the subject real
    property in August 2018 after the filing of this case. Both of these appraisals would indicate
    the value of the property at the time of filing in April of 2018. The first of these two
    appraisals was performed August 14, 2018, by Dean P. Loosbrock, a certified appraiser
    with Pinnacle Appraisals West, Inc. The appraisal indicates that as of August 2018 the fair
    market value of the property is $161,000.00 See Exhibit C.


 12. The next of the recent appraisals was performed on August 14, 2018, by Craig Marvin
    Wilker, a certified appraiser with Home Value Appraisal & Inspection, LLC. This appraisal
    sets the fair market value as of August 2018 at $167,000.00. See Exhibit D.



 13. The subject real property secures a first-priority mortgage in favor of Bell Mortgage LLC
    DBA Bell Mortgage, for $189,500.00 dated February 22, 2008 and recorded on March 21,
    2008 in the Office of the County Recorder, Hennepin County, Minnesota as instrument
    number 9111486. Mortgage Electronic Registration Systems (MERS) was designated
    nominee for Bell Mortgage LLC. See Exhibit E.



 14. MERS assigned this first mortgage to JPMORGAN CHASE BANK NATIONAL
    ASSOCIATION on February 28, 2012. The assignment was recorded March 14, 2012 in
    the Office of the County Recorder, Hennepin County, Minnesota as Document No.
    A9763135. A true and correct copy of this assignment is attached to this motion as Exhibit
    F.


 15. The balance of the mortgage is listed on the Proof of Claim No. 14-1 as $163,266.96 as
    filed by JPMorgan Chase Bank, N.A. on June 26, 2018. See Exhibit G. This proof of claim
    was amended August 10, 2018 to list the balance as $162,040.04. See Exhibit H.


 16. The subject real property secures a second-priority mortgage in favor of MERS as nominee
    for FMF CAPITAL LLC for $45,000.00 dated November 16, 2005 and recorded December
    22, 2005 in the Office of the County Recorded, Hennepin County, Minnesota as instrument
    number 8716764. The mortgage was subordinated by instrument number 9111487 entered
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    into on February 20, 2008 and recorded March 21, 2008 in the Office of the County
    Recorder, Hennepin County, Minnesota. A true and correct copy of this mortgage is
    attached to this motion as Exhibit I.


 17. MERS then assigned this mortgage to Wilmington Savings. The assignment was filed June
    15, 2018 as Document Number AXXXXXXXX. See Exhibit J.


 18. Select Portfolio Servicing is the servicer for the note. The balance of the mortgage is listed
    on the Proof of Claim No. 15-1 filed June 27, 2018, is $33,367.11. See Exhibit K.


 19. A judgment in favor of Brian Bilski against Debtor 2 was recorded December 16, 2009, in
    the amount of $2,625.00. See Exhibit L.


 20. A judgment in favor of National Account Services Inc against Debtor 2 was recorded
    March 5, 2012, in the amount of $2,606.03. See Exhibit M.


 21. Hennepin County retains a lien on this property for property taxes. See Exhibits N and O.


 22. The value of the subject real property is less than the balance of the first-priority mortgage
    in favor of JPMORGAN CHASE.


 23. There is no value in the subject real property to which the lien of the second-priority
    mortgage in favor of Wilmington Savings can attach.


 24. The debtors’ Chapter 13 Plan filed on April 18, 2018, proposes to treat the claim of
    Wilmington Savings as unsecured in its entirety and to have the Standing Chapter 13
    Trustee pay such claim as a general unsecured claim for purposes of the administration of
    this Chapter 13 Plan. A true and correct copy of the Debtor’s Chapter 13 Plan is attached
    to this motion as Exhibit P.


 25. The anti-modification clause of 11 U.S.C. §1322(b)(2) does not prevent this result.
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   26. The debtors do not contest the validity, priority, or extent of the second-priority mortgage
       lien.

WHEREFORE, the debtors through their attorney, request an order from the court determining
that the claim of Wilmington Savings is wholly unsecured pursuant to 11 U.S.C. § 506(a).




Dated: _September 17, 2018                   /e/ Kristen Whelchel
                                             Kristen Whelchel (#339866)
                                             Hoglund, Chwialkowski & Mrozik PLLC
                                             1781 W. County Road B
                                             Roseville, Minnesota 55113
                                             (651) 628-9929
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                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MINNESOTA



In Re:                                                           Bkry Case No: 18-41224
Glen W. Simonds,                                                         Chapter 13
and
Jennifer A. Simonds,
                         Debtors.



   AMENDED MEMORANDUM IN SUPPORT OF MOTION TO VALUE CLAIM OF
    WILMINGTON SAVINGS FUND SOCIETY FSB DBA CHRISTIANA TRUST
                IN DEBTORS’ PRINCIPAL RESIDENCE



      Chapter 13 Debtors Glen W. Simonds and Jennifer A. Simonds (hereinafter “debtors”) have
filed the accompanying motion seeking the entry of an order determining the value of the claim of
Wilmington Savings Fund Society FSB DBA Christiana Trust (hereinafter “Wilmington Savings”)
secured by its second-priority mortgage against the debtors’ homestead residential real property
pursuant to 11 U.S.C. § 506(a), Fed. R. Bankr. P. 3012, and Local Rule 3012-1 is wholly unsecured
and classifying the claim of Wilmington Savings Fund Society FSB DBA Christiana Trust as
unsecured in its entirety to be treated as a non-priority general unsecured claim pursuant to 11
U.A.C. §502.


                                                 FACTS


      The debtors initiated this case by filing a petition for relief under Chapter 13 of Title 11 of the
United States Code (the “Bankruptcy Code”). The debtors scheduled their principal residence,
located at 8117 Aster Drive, Brooklyn Park, MN 55428 (hereinafter referred to as “the subject real
property”) in Schedule A of the petition. The debtors obtained an appraisal for the subject real
property on October 18, 2017 from James Anthony, a certified residential appraiser with James
Anthony Appraisal Company. which established the fair market value of the subject real property
as $148,000.00. (See Exhibit B attached to the accompanying Motion to Value Claim). This case
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was filed April 18, 2018. The October appraisal was performed approximately 6 months before
the filing of this case. This value from the October appraisal is supported by two additional
appraisals that were completed four months after the case was filed. The first appraisal performed
in August 2018 and values the property at $161,000. The second appraisal in August values the
subject real property at $167,000.00. (See Exhibits C and D.) The average of these three appraisals
is $158,666.67. The subject real property is subject to a first-priority mortgage in favor of
JPMORGAN CHASE (See Exhibits E and F) in the amount of $162,040.04. (See Exhibit H). The
subject real property is subject to a second-priority mortgage in favor of Wilmington Savings. (See
Exhibits I and J) in an amount believed to be no less than $33,367.11. (See Exhibit K).


   The debtors’ Chapter 13 Plan, proposes to treat the claim of Wilmington Savings as unsecured
in its entirety because there is no value in the subject real property over and above the first-position
lien in favor of JPMORGAN CHASE to which the second-priority lien of Wilmington Savings
may attach. The debtors do not contest the validity, priority, or extent of the second-priority lien
of Wilmington Savings.


                                            ARGUMENT


   A Chapter 13 debtor may, through his or her plan, “modify the rights of holders of secured
claims, other than a claim secured only by a security interest in real property that is the debtor’s
personal residence, or holders of unsecured claims…..” 11 U.S.C. §1322(b)(2) (2013). The claim
of a creditor secured by a lien on property in which the estate has an interest is a secured claim
only “to the extent of the value of such creditor’s interest in the estate’s interest in such property”
and is an unsecured claim “to the extent that the value of such creditor’s interest…is less than the
amount of such allowed claim.” 11 U.S.C. §506(a)(1) (2013). A lien on property – and a claim
based on that lien – is not secured if there exists “insufficient equity in the property to cover any
portion of that lien.” Pond v. Farm Specialist Realty (In re Pond), 252 F.3d 122, 127 (2d Cir.
2001). Therefore, the holder of a wholly unsecured claim as classified pursuant to 11 U.S.C.
§506(a) is not the holder of “a claim secured only by a security interest in real property that is the
debtors principal residence,” and therefore the holder’s “rights in the lien are not protected under
the anti-modification exception of Section 1322 (b)(2).” Id. See also In re Fisette, 455 B.R. 177,
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(8th Cir. BAP Minn 2011), appeal dismissed for lack of jurisdiction, 695 F3d 803, 807 (8th Cir.
2012) (concluding that “a debtor may generally strip off a wholly unsecured lien on his principal
residence”).
   Federal Rule of Bankruptcy Procedure 3012 provides that “[t]he court may determine the value
of a claim secured by a lien on property in which the estate has an interest on motion of any party
in interest and after a hearing on notice to the holder of the secured claim and any other entity as
the court may direct.” Local Rule 3012-1 establishes the procedure that must be followed by a
Chapter 13 debtor seeking to modify the rights of the holder of a claim.


   In order to determine the secured status of the creditor’s claim, the value of the collateral must
first be ascertained. In re Calender, 262 B.R. 777 (8th Cir. BAB Mo. 2001). Once the value of the
real estate is found, deductions for encumbrances with priority over the lien in question must be
subtracted from the value of the collateral. Id. If the value of the collateral is worth far less than
the lien held by the first mortgage creditor, the claim held by the second mortgage creditor is
wholly unsecured. The appropriate method of valuation of real estate for such a proceeding is to
use fair market value without deducting for costs. In re Rankin, 49 BR 565 (Bankr. W.D. Mo,
1985). The appropriate date for valuation of the collateral for purpose of determining the secured
or unsecured status of the creditor’s claim is the date the debtor filed the petition. TD Bank, N.A.
v. Landry, 49 B.R. 1, 6 (US Dist. Ct. D. Mass. 2012).


   In this case, the debtors obtained an appraisal dated October 18, 2017. This date is near the
time to the date the debtors filed this motion with the court. No improvements have been made to
the subject real property since the date of the appraisal. The appraisal established the subject real
property’s value as $148,000.00, using commercially reasonable methods. The appraisal was
completed by a certified residential real estate appraiser from James Anthony Appraisal Company.
The value was obtained by a sales comparison approach and thorough inspection of the subject
real property. The comparable sales used in the report were selected based on a comprehensive
study of the subject market and nearby competing markets, and considered the “similar(ity] to the
subject real property”, “site and view”, “design and appeal”, “quality and construction”, and “age”.
   The debtors have had two additional appraisals performed after the filing of this case. The
average of all three of these appraisals is $158,666.67.
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   Here, the debtors are asking the court to value the secured claim of Wilmington Savings which
is in second-priority position as a lien behind the first mortgage in favor of JPMORGAN CHASE.
(See Exhibits C and D). The fair market value of the subject real property as established by the
appraisal is $148,000.00 (See Exhibit B). The balance owed on the first-priority mortgage in favor
of JPMORGAN CHASE is $162,040.04. There is no value in the subject real property to which
the second mortgage lien of Wilmington Trust can attach, and the value of the secured second
mortgage claim of Wilmington Savings in the subject real property is $0.00 and it is therefore
wholly unsecured. Even if the average of all three appraisals were to be used at $158,666.67 were
to be used, there would still be no equity for the second mortgage to attach.


   Because the claim of Wilmington Savings secured by its second-priority lien on the debtors’
principal residence is wholly unsecured, the debtors may modify the rights of the holder of that
claim. Pursuant to 11 U.S.C. §1322(b)(2), debtors may modify the rights of Wilmington Savings
by stripping off Wilmington Savings’ lien against the debtors’ principal residence.


                                           CONCLUSION


The debtors therefore ask this court to enter an order determining that the second mortgage claim
of Wilmington Savings is wholly unsecured and shall be classified and treated as unsecured in its
entirety pursuant to 11 U.S.C. §506 to be treated as a non-priority general unsecured claim pursuant
to 11 U.S.C. §502; and for such other relief as may be just and proper.



Dated: September 17, 2018                            /e/ Kristen Whelchel
                                                     Kristen Whelchel (#339866)
                                                     Hoglund, Chwialkowski & Mrozik PLLC
                                                     1781 W. County Road B
                                                     Roseville, Minnesota 55113
                                                     (651) 628-9929
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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA



In Re:
Glen W. Simonds,                                              Bkry Case No: 18-41224
and                                                                   Chapter 13
Jennifer A. Simonds,
                                Debtor(s).



      ORDER TO DETERMINE THE SECURED STATUS OF WILMINGTON TRUST,
             SAVINGS FUND SOCIETY FSB DBA CHRISTIANA TRUST
                    IN DEBTORS’ PRINCIPAL RESIDENCE



    This case came before the court on the debtors’ Motion to Determine Value Claim of
Wilmington Savings Fund Society FSB DBA Christiana Trust (Wilmington Savings) based on
the motion and the file:


      IT IS ORDERED:

         The claim of Wilmington Savings Fund Society FSB DBA Christiana Trust associated with
         a lien against the debtors’ principal residence legally described as Lot 4, Block 11, Garden
         Acres Second Addition, Hennepin County, Minnesota, is wholly unsecured pursuant to 11
         U.S.C. §506 for the purpose of confirmation of the debtors’ plan.




Dated:
                                                       Kathleen H. Sanberg
                                                       United States Bankruptcy Judge
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                           UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA


In Re:                                                        Bkry Case No: 18-41224
Glen W Simonds,                                                      Chapter 13
and
Jennifer A Simonds,                                           UNSWORN CERTIFICATE
                        Debtor.                                      OF SERVICE


I, Sarah M. Dutton, employed by Hoglund & Chwialkowski & Mrozik, PLLC, attorneys licensed to
practice law in this Court, with office address of 1781 West County Road B, Roseville, Minnesota
55113, declare that on September 18, 2018, I served the Amended Notice of Motion and Motion to
Value Claim of Wilmington Savings Fund Society FSB DBA Christiana Trust in Debtors’ Principal
Residence to each of the entities named below by first class mail postage prepaid and to any entities
who are Filing Users, by automatic e-mail notification pursuant to the Electronic Case Filing
System:



                           The following were served by certified mail:

 Wilmington Savings Fund Society FSB
 Mark A. Turner, CEO
 500 Delaware Avenue
 Wilmington, DE 19801
 Mr. Mark A. Turner is listed as the Chief Executive Officer and President of Wilmington
 Savings Fund Society FSB as obtained through www.investors.wsfsbank.com on July 5,
 2018.

 JPMorgan Chase
 James Dimon, President
 270 Park Avenue
 New York, NY 10017
 Mr. James Dimon is listed as the Chief Executive Officer of JPMorgan Chase as obtained
 through www.jpmorganchase.com on July 5, 2018.

 Select Portfolio Servicing
 Matt Hollingsworth, CEO
 3217 Decker Lake Dr
 Salt Lake City, UT 84119
 Mr. Matt Hollingsworth is listed as the Chief Executive Officer of Select Portfolio
 Servicing, Inc. as obtained through www.bbb.org and secure.utah.gov on July 5, 2018.
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National Account Services Inc
John Ladaga CEO
1200 Abernathy Road NE
Suite 1000
Atlanta, GA 30328
Mr. John Ladaga is listed as the Chief Executive Office and President of National Account
Services Inc as obtained through www.nasco.com on July 5, 2018.

Hennepin County Tax
Vicci Lee, Hennepin County Treasurer
A600 Government Center
300 South Sixth Street
Minneapolis, MN 55487

Wilford, Geske & Cook, P.A.
Orin J. Kipp
7616 Currell Blvd Ste 200
Woodbury, MN 55125

Usset, Weingarden & Libro, P.L.L.P
4500 Park Glen Road
Suite 300
St. Louis Park, MN 55416

Brian Biliski
925 Weeks Avenue SE
Minneapolis, MN 55414

                The following were served via first class mail postage prepaid

Chase Records Center
Attn: Correspondence Mail
Mail Code LA4-5555
700 Kansas Lane
Monroe, LA 71203

Select Portfolio Servicing, Inc.
PO Box 65250
Salt Lake City, UT 84165-0250

Glen & Jennifer Simonds
8117 Aster Drive
Brooklyn Park, MN 55428
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I declare, under penalty of perjury, that the foregoing is true and correct.
Dated: September 18, 2018
Signed: /e/ Sarah M. Dutton
          Paralegal
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